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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:11CR3087
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
GUY E. ALLEN,                                 )
                                              )
                     Defendant.               )

       I am in receipt of a letter from the defendant.

       IT IS ORDERED that:

       (1)    The Clerk of Court shall file the letter as a restricted document.

       (2)    The Clerk of Court shall provide a copy of this order and the defendant’s letter
to counsel for the government, to counsel for the defendant, and to the Probation Office.

       Dated April 15, 2013.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           Senior United States District Judge
